Case 8:17-cv-01397-JVS-JDE Document 149 Filed 01/10/19 Page 1 of 18 Page ID #:5518

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          SACV 17-1397 JVS(JDEx)                                       Date   January 10, 2019

 Title             Megan Schmitt v. Younique LLC


 Present: The                    James V. Selna
 Honorable
                         Karla J. Tunis                                       Not Present
                         Deputy Clerk                                       Court Reporter
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Not Present                                         Not Present

 Proceedings:           (IN CHAMBERS)
                        ORDER GRANTING IN PART AND DENYING IN PART
                        PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION


       Plaintiffs Megan Schmitt (“Schmitt”), Deana Reilly (“Reilly”), Carol Orlowsky
(“Orlowsky”), and Stephanie Miller Brun (“Brun”) (together—“Plaintiffs”) filed a
motion for class certification. (Mot., Docket No. 80-1.) Defendant Younique, LLC
(“Younique”) opposed. (Opp’n, Docket No. 105-1.) Plaintiffs replied. (Reply, Docket
No. 118-1.) Along with their Reply, Plaintiffs also filed a supplemental declaration of
their expert, Donald May (“May”). (May Suppl. Decl., Docket No. 118-3.) Younique
filed objections to May’s supplemental declaration. (Obj., Docket No. 124-1.)1

       For the following reasons, the Court grants in part and denies in part the motion
for class certification.

                                                    I. BACKGROUND

    This case concerns the marketing and sales of Younique’s mascara product,
Moodstruck 3D Fiber Lashes (the “Lash Enhancer”) from October 2012 until July 2015.2


         1
         Younique objects that the supplemental report is untimely. (Obj., Docket No. 111-3). For
purposes of this motion for class certification, the Court will consider the supplemental report; at this
time, the Court does not decide whether this report will be considered for later use.
         2
         The Court recites the following facts based on the record before it. To the extent that either
party has objected to the facts contained, those objections are overruled. The Court does not rule on
CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                              Page 1 of 18
Case 8:17-cv-01397-JVS-JDE Document 149 Filed 01/10/19 Page 2 of 18 Page ID #:5519

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       SACV 17-1397 JVS(JDEx)                                  Date   January 10, 2019

 Title          Megan Schmitt v. Younique LLC

(SAC, Docket No. 58 ¶ 1.) The Lash Enhancer consists of two components, a
“Transplanting Gel” and “Natural Fibers.” (Id. ¶ 3.) Younique represented that the
Natural Fiber component was “natural” and consisted of “100% Natural Green Tea
Fibers” on the Lash Enhancer’s label. (Id. ¶ 8.) However, Plaintiffs allege that the
Natural Fiber component did not actually contain any green tea leaves and instead was
composed of ground-up nylon. (Id.) Plaintiffs allege that a reasonable person would not
consider nylon “natural.” (Id. ¶ 7.)

      Younique’s products are not sold in retail stores. (Opp’n, Docket No. 105-1 at 1.)
The Lash Enhancer was sold by individual independent contractors (“Presenters”) who
marketed the Lash Enhancer via online platforms including “virtual” parties. (Id. at 1–2.)
Customers can purchase products from Younique’s website or from a Presenter’s
individual webpage, which is also connected to Younique’s website. (Docket No. 111-4,
Ex. 25, 235:24-236:7; Docket No. 111-5, Ex. 26, 90:7-91:12; Docket No. 111-6, Ex. 27,
42:17-44:8, 102:4-104:2, 107:8-108:5)

       The Lash Enhancer contained tubes that were packaged inside a hard, black case
(akin to an eyeglass case). (Henry Decl., Docket No. 111-1, Images 3, 15.) The case was
shrink-wrapped in plastic. (Id., Image 4.) The ingredients were listed on a label stuck to
the shrink-wrap on the back of the case. (Id., Image 5.) The two labels used featured one
of the following representations:

                 TRANSPLANTING GEL
                 & NATURAL FIBERS
                 ...
                 Natural Fibers
                 Net Wt. .02 oz/ .5g
                 ...
                 NATURAL FIBERS INGREDIENTS:
                 100% Natural Fibers taken from the
                 Campanulaceae of Green Tea

(Henry Decl., Docket No. 111-1, Image 6.) or



objections related to facts or evidence upon which it has not relied.
CV-90 (06/04)                             CIVIL MINUTES - GENERAL                          Page 2 of 18
Case 8:17-cv-01397-JVS-JDE Document 149 Filed 01/10/19 Page 3 of 18 Page ID #:5520

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES - GENERAL
 Case No.       SACV 17-1397 JVS(JDEx)                            Date   January 10, 2019

 Title          Megan Schmitt v. Younique LLC

                 TRANSPLANTING GEL
                 & NATURAL FIBERS
                 ...
                 Natural Fibers
                 Net Wt. .02 oz/ .5g
                 ...
                 NATURAL FIBERS INGREDIENTS:
                 100% Natural Green Tea Fibers

(Id., Image 4.) Younique promotes itself as a company specializing in natural cosmetics.
(Ranallo Depo., Docket No. 105-8, 67:13-24; August 2013 website capture, Docket No.
77-6, Ex. 2; August 2014 website capture, Docket No. 77-7, Ex. 3; Younique website
capture, Docket No. 106-4, Ex. 16 “Nature. Love. Science.”) Plaintiffs are consumers
who purchased the Lash Enhancer. (Id. ¶¶ 32, 36, 40, 44.) When this action was filed,
Schmitt was a citizen of California, Reilly was a citizen of Florida, Brun was a citizen of
Ohio, and Orlowsky was a citizen of Tennessee. (Id.)

       Plaintiffs filed a purported class action against Younique alleging eleven causes of
action, including violations of the Magnuson-Moss Warranty Act (“MMWA”), 15 U.S.C.
2301, et seq., the California Unfair Competition Law (“UCL”), California Bus.& Prof.
Code § 17200, et seq., the California Consumers Legal Remedies Act (“CLRA”), Cal.
Civ. Code § 1750, et seq., the Florida Unfair and Deceptive Trade Practices Act
(“FUDTPA”), Fla. Stat. § 501.201, et seq., the Ohio Consumer Sales Practices Act, Ohio
Rev. Code § 1345.01, the Ohio Deceptive Trade Practices Act (“ODTPA”), Ohio Rev.
Code § 4165.01, et seq., and the Tennessee Consumer Protection Act (“TCPA”), Tenn.
Code Ann. § 47-18-101, et seq.; breaches of an express warranty under California, Ohio,
and Tennessee laws and breaches of the implied warranties of merchantability under
California, Ohio, and Tennessee laws. (See generally SAC, Docket No. 58.)

      Plaintiffs seek certification of four state classes: California, Tennessee, Ohio, and
Florida. The proposed class definitions are:

                 California Class: All California consumers who purchased
                 stand-alone Moodstruck 3D Fiber Lashes between October
                 2012 and July 2015 for personal, family or household use.

CV-90 (06/04)                         CIVIL MINUTES - GENERAL                        Page 3 of 18
Case 8:17-cv-01397-JVS-JDE Document 149 Filed 01/10/19 Page 4 of 18 Page ID #:5521

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES - GENERAL
 Case No.       SACV 17-1397 JVS(JDEx)                             Date   January 10, 2019

 Title          Megan Schmitt v. Younique LLC

                 Tennessee Class: All Tennessee consumers who purchased
                 stand-alone Moodstruck 3D Fiber Lashes between October
                 2012 and July 2015 for personal, family or household use.

                 Ohio Class: All Ohio consumers who purchased stand-alone
                 Moodstruck 3D Fiber Lashes between October 2012 and July
                 2015 for personal, family or household use.

                 Florida Class: All Florida consumers who purchased stand-
                 alone Moodstruck 3D Fiber Lashes between October 2012 and
                 July 2015 for personal, family or household use.

(Mot., Docket No. 80-1. at 11.)

      Younique has also moved for summary judgment on all of Plaintiffs’ claims.
(Mot., Docket No. 100.) The Court’s tentative order explains that Plaintiffs’ remaining
claims that survive summary judgment are Claim 1 (MMWA) for Brun, Claim 2 (UCL),
Claim 3 (CLRA), Claim 6 (FUDTPA), Claims 9-10 (breach of Ohio express and implied
warranty law). The Court analyzes this motion for class certification in light of the
remaining claims.

                                     II. LEGAL STANDARD

       A motion for class certification involves a two-part analysis. First, the plaintiffs
must demonstrate that the proposed class satisfies Rule 23(a)’s requirements: (1) the
members of the proposed class must be so numerous that joinder of all claims would be
impracticable; (2) there must be questions of law and fact common to the class; (3) the
claims or defenses of the representative parties must be typical of the claims or defenses
of absent class members; and (4) the representative parties must fairly and adequately
protect the class interest. Fed. R. Civ. P. 23(a). The plaintiffs may not rest on mere
allegations, but must provide facts to satisfy these requirements. Doninger v. Pac. Nw.
Bell, Inc., 564 F.2d 1304, 1309 (9th Cir. 1977) (citing Gillibeau v. Richmond, 417 F.2d
426, 432 (9th Cir. 1969)).

      Second, the plaintiffs must meet the requirements for at least one of Rule 23(b)’s
subsections. Under Rule 23(b)(1), plaintiffs may certify a class if there is either (1) a risk
CV-90 (06/04)                         CIVIL MINUTES - GENERAL                         Page 4 of 18
Case 8:17-cv-01397-JVS-JDE Document 149 Filed 01/10/19 Page 5 of 18 Page ID #:5522

                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES - GENERAL
 Case No.       SACV 17-1397 JVS(JDEx)                            Date   January 10, 2019

 Title          Megan Schmitt v. Younique LLC

of prejudice from separate actions establishing incompatible standards of conduct or (2)
judgments in individual lawsuits would adversely affect the rights of other members of
the class. Under Rule 23(b)(2), a plaintiff may maintain a class where the defendant has
acted in a manner applicable to the entire class, making injunctive or declaratory relief
appropriate. Finally, under Rule 23(b)(3), a plaintiff may certify a class only if
“questions of law or fact common to class members predominate over any questions
affecting only individual members,” and if “a class action is superior to other available
methods for fairly and efficiently adjudicating the controversy.” Fed. R. Civ. P. 23(b)(3)
(emphasis added).

       The plaintiffs must show that the class satisfies Rule 23. See Zinser v. Accufix
Research Inst., Inc., 253 F.3d 1180, 1186 (9th Cir. 2001), amended by 273 F.3d 1266
(2001). A district court must rigorously analyze whether the plaintiffs have met Rule
23’s prerequisites. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 350 (2011). Rule 23
confers “broad discretion to determine whether a class should be certified, and to revisit
that certification throughout the legal proceedings before the court.” Armstrong v. Davis,
275 F.3d 849, 871 n.28 (9th Cir. 2001), cert. denied, 537 U.S. 812 (2002), abrogated on
other grounds by Johnson v. California, 543 U.S. 499 (2005). The district court need
only form a “reasonable judgment” on each certification requirement “[b]ecause the early
resolution of the class certification question requires some degree of speculation.” Gable
v. Land Rover N. Am., Inc., No. SACV 07-0376 AG (RNBx), 2011 WL 3563097, at *3
(C.D. Cal. July 25, 2011) (internal quotation marks omitted); see also Blackie v. Barrack,
524 F.2d 891, 901 n.17 (9th Cir. 1975). This may require the court to “‘probe behind the
pleadings before coming to rest on the certification question,’” and the court “‘must
consider the merits’ if they overlap with Rule 23(a)’s requirements.” Wang v. Chinese
Daily News, Inc., 709 F.3d 829, 834 (9th Cir. 2013) (emphasis in original) (quoting
Dukes, 564 U.S. at 350; Ellis v. Costco Wholesale Corp., 657 F.3d 970, 981 (9th Cir.
2011)).

                                     III. DISCUSSION

A.       Standing

       Younique’s first argument in opposition to the motion for class certification is that
Plaintiffs’ motion must be denied because they lack standing. (Opp’n, Docket No. 105-1
at 11.) See O’Shea v. Littleton, 414 U.S. 488, 494 (1974) (“[I]f none of the named
CV-90 (06/04)                       CIVIL MINUTES - GENERAL                          Page 5 of 18
Case 8:17-cv-01397-JVS-JDE Document 149 Filed 01/10/19 Page 6 of 18 Page ID #:5523

                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       SACV 17-1397 JVS(JDEx)                             Date   January 10, 2019

 Title          Megan Schmitt v. Younique LLC

plaintiffs purporting to represent a class establishes the requisite of a case or controversy
with the defendants, none may seek relief on behalf of himself or any other member of
the class.”) As discussed in the tentative order regarding Younique’s motion for
summary judgment, Orlowsky does not have standing to sue under Tennessee law
because she did not purchase the Lash Enhancer while living in Tennessee; however, the
Court has determined that Reilly, Schmitt, and Brun all have standing. (Orlowsky
Transcript, 122:11-123:11, 37:23-38:1.) Since none of the Plaintiffs purporting to
represent the Tennessee class has standing to sue Younique, the Tennessee class cannot
be certified. Thus, the Court denies Plaintiffs’ motion to certify as to the Tennessee class.
Since at least one of the Plaintiffs (Reilly, Schmitt, and Brun—together “Remaining
Plaintiffs”) has standing to sue in Florida, California, and Ohio, the Court will examine
the Rule 23 prerequisites as to each of those classes.

B.       Rule 23(a) Prerequisites

         1.      Numerosity

       Rule 23(a)(1) requires that “the class [be] so numerous that joinder of all members
is impracticable.” Fed. R. Civ. P. 23(a)(1). “The numerosity requirement is not tied to
any fixed numerical threshold – it ‘requires examination of the specific facts of each case
and imposes no absolute limitations.’” Rannis v. Recchia, 380 Fed. App’x 646, 651 (9th
Cir. 2010) (quoting Gen. Tel. Co. of the Nw., Inc. v. EEOC, 446 U.S. 318, 330 (1980)).
“In general, courts find the numerosity requirement satisfied when a class includes at
least 40 members.” Id. Courts do not require plaintiffs “to fix a precise number.”
Schwartz v. Upper Deck Co., 183 F.R.D. 672, 680 (S.D. Cal. 1999.) Instead, “[t]he
central question is whether [p]laintiffs have sufficiently identified and demonstrated the
existence of the numbers of persons for whom they speak.” Id. at 680–81.

       Here, Younique sold 459,441 stand-alone units in California, 154,146 in Ohio,
100,158 in Tennessee and 180,404 in Florida. (Mot., Docket No. 80-1 at 12.)
Furthermore, Younique does not argue in opposition that any of the proposed classes fails
to satisfy the numerosity requirement. Thus, Plaintiffs have shown numerosity.

         2.      Commonality

         Rule 23(a)(2) requires that the class share common questions of law or fact. Fed.
CV-90 (06/04)                        CIVIL MINUTES - GENERAL                          Page 6 of 18
Case 8:17-cv-01397-JVS-JDE Document 149 Filed 01/10/19 Page 7 of 18 Page ID #:5524

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 17-1397 JVS(JDEx)                                     Date   January 10, 2019

 Title          Megan Schmitt v. Younique LLC

R. Civ. P. 23(a)(2). “Rule 23(a)(2) has been construed permissively.” Hanlon v.
Chrysler Corp., 150 F.3d 1011, 1019 (9th Cir. 1998). “All questions of fact and law need
not be common to satisfy the rule. The existence of shared legal issues with divergent
factual predicates is sufficient, as is a common core of salient facts coupled with disparate
legal remedies within the class.” Id. “[C]ommonality only requires a single significant
question of law or fact.” Mazza v. Am. Honda Motor Co., 666 F.3d 581, 589 (9th Cir.
2012). Here, all of the proposed classes satisfy commonality.

      The proposed Classes’ theory of liability is that “class members were subjected to
the same labeling that contained the same misrepresentations, that the fibers were
“Natural” and made of 100% green tea fibers.” (Mot., Docket No. 80-1 at 12.) Plaintiffs
indicate that the common issues include: (1) whether the label misrepresented the
ingredients; (2) the ingredients of the fibers; (3) whether the representations on the label
were material to a reasonable consumer; and (4) the proper measure of class damages
(Id.)

       Younique asserts that commonality is not satisfied because none of the Plaintiffs
saw the label prior to receiving the Lash Enhancer. (Opp’n, Docket No. 105-1 at 12.)
Younique states that since the importance of the “natural” and “green tea” language
varied among the Plaintiffs, there is no common evidence that it was material. (Id. at
12–13.) In addition, Younique contends that Plaintiffs have not established evidence of
falsity as to the entire class period because Younique had multiple vendors from whom it
purchased the Lash Enhancer.3 (Id. at 13.) Finally, Younique argues that there is a lack
of commonality with respect to damages because Plaintiffs have not proffered a viable
damages model, particularly given that each of the Plaintiffs paid different prices for the
Lash Enhancer and several of the Plaintiffs’ receipts contain orders for both themselves
and their customers. (Id. at 13–14.)

       While not all of the Remaining Plaintiffs indicate that they reviewed the label of
the Lash Enhancer, they have still demonstrated that commonality exists because there is
at least one “single significant question of law or fact.” Mazza, 666 F.3d 589. The


         3
          Younique suggests that an email containing an ingredient list from one of Younique’s vendors
located in China, which mentions “polyvinyl alcohol fibers” is inadmissible (Opp’n, Docket No. 105-1
at 13.) The Court overrules any objection regarding admissibility for purposes of this motion for class
certification.
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                                Page 7 of 18
Case 8:17-cv-01397-JVS-JDE Document 149 Filed 01/10/19 Page 8 of 18 Page ID #:5525

                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       SACV 17-1397 JVS(JDEx)                                       Date    January 10, 2019

 Title          Megan Schmitt v. Younique LLC

Remaining Plaintiffs have each indicated that they were exposed to an alleged
misrepresentation, as they either (1) accessed Younique’s website, which contained the
natural representation,4 or (2) read the product label indicating that the Lash Enhancer
was natural.5 In addition, the question of whether the “natural” and “green tea”
representations are false is a significant question of fact that can be determined in this
case. Moreover, Plaintiffs indicate that since “materiality, like the reasonable consumer
test, concerns objective features of allegedly fraudulent representations and omissions,
not subjective questions of how those representations and omissions were perceived by
each individual consumer, materiality presents common questions of fact suitable for
class litigation.” Martin v. Monsanto Co., No. EDCV162168JFWSPX, 2017 WL
1115167, at *6 (C.D. Cal. Mar. 24, 2017) (quoting Miller v. Fuhu Inc., 2015 WL
7776794, at *16 (C.D. Cal. Dec. 1, 2015). Thus, although Remaining Plaintiffs may have
indicated that certain aspects of the “natural” representation were more or less important
to them individually, the Court can still examine the materiality of the alleged
misrepresentations from an objective standpoint such that there are common questions of
fact. Finally, while Remaining Plaintiffs may have paid various prices for the Lash
Enhancer based on the availability of coupons or Y cash, the Ninth Circuit has indicated
that “the presence of individualized damages cannot, by itself, defeat class certification
under Rule 23(b)(3). Leyva v. Medline Indus. Inc., 716 F.3d 510, 514 (9th Cir. 2013).
Thus, the Court finds that sufficient commonality has been established.


         4
         Plaintiffs have presented evidence that the presenter websites are connected to Younique’s
website. (Brun Depo., Docket No. 111-4, Ex. 25 235:24-236:7; Orlowsky Depo., Docket No. 111-5, Ex.
26, 90:21-91:12.) The record contains evidence that Younique’s website stated the alleged
misrepresentation. (August 2013 website capture, Docket No. 77-6, Ex. 2; August 2014 website
capture, Docket No. 77-7, Ex. 3; Schmitt Depo., Docket No. 111-7, Ex. 27, 42:17-43:11; Orlowsky
Transcript, Docket No. 89-8, Ex.11, 132:1-7) The record also indicates that Younique advertised itself
as a brand with natural products. (Ranallo Depo., Docket No. 105-8, 67:13-24;Younique website
capture, Docket No. 106-4, Ex. 16 “Nature. Love. Science.”). Schmitt and Reilly both accessed
Younique’s website prior to purchasing the product. Schmitt recollects seeing the representation
regarding the natural fibers. (Schmitt Depo., Docket No. 111-7, Ex. 27, 42:17-43:11.) Reilly went to
Younique’s website specifically to see how Younique advertised. (Reilly Depo., Docket No. 89-7, Ex.
10, 106:24-107:14.)
         5
          Plaintiff Brun stated that upon receiving the Lash Enhancer for the first time, she observed that
the label stated the product contained 100% natural green tea fibers. (Brun Depo., Docket No. 111-4,
91:19-92:1.)
CV-90 (06/04)                             CIVIL MINUTES - GENERAL                                  Page 8 of 18
Case 8:17-cv-01397-JVS-JDE Document 149 Filed 01/10/19 Page 9 of 18 Page ID #:5526

                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES - GENERAL
 Case No.       SACV 17-1397 JVS(JDEx)                              Date   January 10, 2019

 Title          Megan Schmitt v. Younique LLC

         3.      Typicality

       Rule 23(a)(3) requires that “the claims or defenses of the representative parties are
typical of the claims or defenses of the class.” To meet the typicality requirement, the
plaintiffs must show that: (1) “other members have the same or similar injury”; (2) “the
action is based on conduct which is not unique to the named plaintiffs”; and (3) “other
class members have been injured by the same course of conduct.” Ellis, 657 F.3d at 984.
Claims must be “reasonably co-extensive with those of absent class members” but do not
need to “be substantially identical.” Hanlon, 150 F.3d at 1020. Plaintiffs may satisfy
their burden through pleadings, affidavits, or other evidence. See Lewis v. First Am.
Title Ins. Co., 265 F.R.D. 536, 556 (D. Idaho 2010).

       Plaintiffs state that the claims of the class arise from the same misconduct that
Plaintiffs seek to remedy—the misrepresentations concerning the ingredients of the
fibers. (Mot., Docket No. 80-1 at 13.) Since the same alleged misrepresentations were
made on the packaging of all the Lash Enhancers (including the ones purchased by
Plaintiffs) and each of the Plaintiffs purchased the Lash Enhancers in reliance on the
representation that they were “natural,” Plaintiffs indicate that their claims are typical of
the class. (Id.)

       Younique instead points out that not all of the Plaintiffs have claims that are
coextensive with those of the classes that they seek to represent. The motion for class
certification focuses on the language from the Lash Enhancer’s label; however, not all of
the Plaintiffs indicate that they were exposed to the label prior to making a purchase.
(Mot., Docket No. 80-1 at 12–13; Opp’n, Docket No. 105-1 at 11.)

       While Reilly alleges that she was exposed to misrepresentations that the Lash
Enhancer was “natural,” those misrepresentations involved advertisements from a
presenter’s party page, not the product label. (Reilly Transcript, 24:17-21, 44:20-21,
45:3-14.) Thus, if “commonality is satisfied here because class members were subjected
to the same labeling that contained the same representations,” and Reilly did not read the
labeling, there is a disconnect between her claim and the proposed common issues of the
proposed class. (Mot., Docket No. 80-1 at 12.)

      Schmitt similarly did not view the label prior to purchasing, but rather heard
representations that the Lash Enhancer was natural and visited Younique’s website,
CV-90 (06/04)                         CIVIL MINUTES - GENERAL                          Page 9 of 18
    Case 8:17-cv-01397-JVS-JDE Document 149 Filed 01/10/19 Page 10 of 18 Page ID
                                     #:5527
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES - GENERAL
 Case No.       SACV 17-1397 JVS(JDEx)                             Date   January 10, 2019

 Title          Megan Schmitt v. Younique LLC

where she encountered the representation that the fibers were natural. (Schmitt
Transcript, 46:5-15.) As such, her experiences with the alleged misrepresentations were
not with regard to the label itself.

       Brun, however, observed the label after purchasing the Lash Enhancer, and
continued to make additional purchases of it. (Brun Transcript, 91:19-92:22, 94:13-21.)
Her claims thus involve the same issues of commonality as the ones of the proposed Ohio
class, and the Court finds that Brun satisfies the typicality requirements of Rule 23(a)(3).

      The issue then is whether the Reilly and Schmitt have claims that are “reasonably
coextensive with those of the absent class members” because their claims “need not be
substantially identical.” Hanlon v. Chrysler Corp., 150 F.3d 1011, 1020 (9th Cir. 1998).
The Court finds that both Reilly and Schmitt have reasonably coextensive claims. While
they did not see the label prior to purchasing, Plaintiffs have produced evidence that the
alleged misrepresentations that the Lash Enhancer’s fibers were natural, which they were
exposed to via social media or Younique’s website, were material to their decision to
make the purchase. The proposed California and Florida class members allegedly
experienced the same injury: receipt of a product that was not “natural.” The action is
based on conduct that is not unique to Reilly and Schmitt because the alleged
misrepresentations were distributed widely and other class members have been injured by
the same course of alleged conduct—distributing a Lash Enhancer that does not actually
contain natural fibers, as indicated. See Ellis, 657 F.3d at 984.

         4.      Adequacy

       Rule 23(a)(4) requires that the class representative “fairly and adequately protect
the interest of the class.” Fed. R. Civ. P. 23(a)(4). Representation is fair and adequate
when the class representative and counsel (1) have no conflicts of interest with absent
class members and (2) will prosecute the action vigorously on behalf of the class. Staton
v. Boeing Co., 327 F.3d 938, 957 (9th Cir. 2003).

       Here, Younique argues based on Fifth Circuit case law that there may be a conflict
of interest due to claim-splitting. (Opp’n, Docket No. 105-1 at 23.) See Slade v.
Progressive Sec. Ins. Co., 856 F.3d 408, 412 (5th Cir. 2017) (“When the class
representative proposes waiving some of the class’s claims, the decision risks creating an
irreconcilable conflict of interest with the class.”). Younique believes that Plaintiffs will
CV-90 (06/04)                       CIVIL MINUTES - GENERAL                           Page 10 of 18
     Case 8:17-cv-01397-JVS-JDE Document 149 Filed 01/10/19 Page 11 of 18 Page ID
                                      #:5528
                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES - GENERAL
 Case No.       SACV 17-1397 JVS(JDEx)                             Date   January 10, 2019

 Title          Megan Schmitt v. Younique LLC

waive recovery for class members who purchased the Lash Enhancer as part of a
collection, rather than as a stand-alone purchase. (Opp’n, Docket No. 105-1 at 24.) In
addition, Younique suggests that Plaintiffs’ counsel engaged in unethical conduct by
soliciting Plaintiffs via social media and that both Plaintiffs and their counsel abused the
discovery process when they failed to provide requested information to which they have
access and served false discovery responses. (Id. at 24.) Further, Younique asserts that
Plaintiffs have not participated in efforts to resolve the case because they did not attend
mediation and have not settled after receiving Younique’s offers. (Id. at 25.)

        The Court finds that Plaintiffs and their counsel have demonstrated adequacy.
While these claims do exclude the Lash Enhancer purchased as part of a collection, it is
unclear why that would waive future claims for recovery for the collection purchases.
(Reply, Docket No. 118-1 at 28.) Even if they did, the Court is not prepared to adopt the
Fifth Circuit’s interpretation in the absence of guidance from the Ninth Circuit. As to the
discovery responses (or lack thereof) and participation of Plaintiffs, the Court finds that
the complained-of behaviors do not rise to a level that suggests that the Plaintiffs or their
counsel are not adequate. The Plaintiffs have participated in depositions and reviewed
filings and each has demonstrated an understanding of what it means to be a class
representative. (Mot., Docket No. 80-1 at 14.) See In re Silver Wheaton Corp. Sec.
Litig., No. 215CV05146CASJEMX, 2017 WL 2039171, at *8 (C.D. Cal. May 11, 2017)
(“[R]udimentary knowledge of the claims asserted suffices to satisfy adequacy.”). While
Younique points to certain discovery violations, they are not so significant that Plaintiffs’
counsel should be deemed inadequate given that counsel has experience and no conflicts
with the class. (Decl., Docket Nos. 77-3, 77-4.)

B.       Rule 23(b)(3) Requirements

       Because the proposed class satisfies the Rule 23(a) prerequisites, the Court must
consider whether the proposed class satisfies at least one of the Rule 23(b) requirements.
Plaintiffs seek class certification under Rule 23(b)(3). (Mot., Docket No. 80-1 at 12.)
Rule 23(b)(3) allows for class actions when necessary to “achieve economies of time,
effort, and expenses, and promote uniformity of decision as to persons similarly situated,
without sacrificing procedural fairness or bringing about other undesirable results.”
Kamm v. Cal. City Dev. Co., 509 F.2d 205, 211 (9th Cir. 1975). To certify a class under
Rule 23(b)(3), the plaintiff must show that (1) common questions of law and fact
predominate over individual questions and (2) a class action is superior to other available
CV-90 (06/04)                       CIVIL MINUTES - GENERAL                           Page 11 of 18
    Case 8:17-cv-01397-JVS-JDE Document 149 Filed 01/10/19 Page 12 of 18 Page ID
                                     #:5529
                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       SACV 17-1397 JVS(JDEx)                           Date     January 10, 2019

 Title          Megan Schmitt v. Younique LLC

methods to adjudicate the plaintiff’s claims. Fed. R. Civ. P. 23(b)(3).

         1.      Predominance

       The predominance requirement requires the plaintiff to show that “the questions of
law or fact common to class members predominate over any questions affecting only
individual members.” Fed. R. Civ. P. 23(b)(3). “Rule 23(b)’s requirement that common
issues of law or fact predominate over individual issues is similar to, but more stringent
than, Rule 23(a)’s commonality requirement.” Rai v. CVS Caremark Corp., No. CV 12-
08717-JGB(VBKx), 2013 WL 10178675, at *8 (C.D. Cal. Oct. 11, 2013) (citing In re
Countrywide Fin. Corp. Sec. Litig., 273 F.R.D. 586, 596 (C.D. Cal. 2009)). “To
determine whether common issues predominate, this Court must first examine the
substantive issues raised by [the plaintiff] and second inquire into the proof relevant to
each issue.” Jimenez v. Domino’s Pizza, Inc., 238 F.R.D. 241, 251 (C.D. Cal. 2006)
(citing Simer v. Rios, 661 F.2d 655, 672 (7th Cir. 1981)). Courts will find predominance
when the “proposed classes are sufficiently cohesive to warrant adjudication by
representation.” Amchem Prods., Inc. v. Windsor, 521 U.S. 591, 623 (1997). “This calls
upon courts to give careful scrutiny to the relation between common and individual
questions in a case.” Tyson Foods, Inc. v. Bouaphakeo, 136 S. Ct. 1036, 1045 (2016).
“An individual question is one where ‘members of a proposed class will need to present
evidence that varies from member to member,’ while a common question is one where
‘the same evidence will suffice for each member to make a prima facie showing [or] the
issue is susceptible to generalized, class-wide proof.’” Id. (quoting 2 W. Rubenstein,
Newberg on Class Actions § 4.50 at 196-97 (5th ed. 2012)).

                 a.   Reliance

      Plaintiffs assert that common questions of fact and law predominate in this case
because the claims arise from the same factual misrepresentations that the fibers were
natural and from green tea fibers. (Mot., Docket No. 80-1 at 15.) Specifically, the
question regarding the falsity of the representation that the Lash Enhancer was natural is
common to the class and can allegedly be proven through common evidence such as the
Lash Enhancer’s label, its ingredient list, and Younique’s website touting its natural
products. (Id. at 16.) Plaintiffs contend that the materiality of the representations is
based on an objective, reasonable customer standard and can therefore be determined
based on common evidence such as the space used on the packaging that indicates that it
CV-90 (06/04)                       CIVIL MINUTES - GENERAL                           Page 12 of 18
    Case 8:17-cv-01397-JVS-JDE Document 149 Filed 01/10/19 Page 13 of 18 Page ID
                                     #:5530
                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES - GENERAL
 Case No.       SACV 17-1397 JVS(JDEx)                            Date   January 10, 2019

 Title          Megan Schmitt v. Younique LLC

contains natural ingredients. (Id.) Finally, Plaintiffs argue that the “damages are capable
of measurement on a class-wide basis” because the evidence required for analysis is not
individual to class members. (Id. at 16–17) (citing Comcast Corp. v. Behrend, 569 U.S.
27, 30 (2013).

       Younique instead argues that class-wide reliance cannot be presumed in this case
because Plaintiffs cannot establish class-wide exposure to a material representation.
(Opp’n, Docket No. 105-1 at 14.) See, e.g., Ehret v. Uber Techs., Inc., 148 F. Supp. 3d
884, 901 (N.D. Cal. 2015) (“Plaintiff presents no evidence of the likelihood that someone
visiting the website or blog would stay long enough to read the information or posts
related to uberTAXI and the 20% gratuity representation, instead requiring the Court to
speculate on the likelihood of exposure.”). Younique contends that Plaintiffs cannot
prove class-wide exposure because the Lash Enhancer was sold online and through
presenters, as opposed to in a store where consumers could pick up the product and view
the label before purchasing. See Mazza v. Am. Honda Motor Co., 666 F.3d 581, 596 (9th
Cir. 2012) (citing Pfizer Inc. v. Superior Court, 182 Cal. App.4th 622, 632 (Cal. Ct. App.
2010)) (“Tobacco II does not allow ‘a consumer who was never exposed to an alleged
false or misleading advertising . . . campaign’ to recover damages under California’s
UCL.”). In addition, Younique indicates that the website captures highlighting
Younique’s “natural beauty” products from 2013 and 2014 do not amount to class-wide
exposure. (Opp’n, Docket No. 105-1 at 15.)

       Younique also asserts that since the importance of the “natural” and “green tea”
language varied from customer to customer, as evidenced by the Plaintiffs themselves,
Plaintiffs cannot demonstrate class-wide reliance and the case should not be certified as a
class action. See In re Vioxx Class Cases, 180 Cal. App. 4th 116, 129 (2009) (“[I]f the
issue of materiality or reliance is a matter that would vary from consumer to consumer,
the issue is not subject to common proof, and the action is properly not certified as a class
action.”). Younique emphasizes that many customers purchased the Lash Enhancer
because they wanted to have full eyelashes, not because it was important that the product
was natural. (Opp’n, Docket No. 105-1 at 8.)

      In terms of exposure to the alleged misrepresentations, Plaintiffs have presented
evidence that there was sufficient class-wide exposure to the alleged misrepresentations.
Younique has not suggested that the statements regarding the “natural” and “green tea”
ingredients in the Lash Enhancer were somehow unavailable to Plaintiffs; instead, the
CV-90 (06/04)                       CIVIL MINUTES - GENERAL                          Page 13 of 18
    Case 8:17-cv-01397-JVS-JDE Document 149 Filed 01/10/19 Page 14 of 18 Page ID
                                     #:5531
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       SACV 17-1397 JVS(JDEx)                                       Date   January 10, 2019

 Title          Megan Schmitt v. Younique LLC

evidence shows that it was visible on all packaging, and on the internet presentation.
(Henry Decl., Docket No. 111-1, Images 4, 6; Docket No. 77-6.) See Brickman v. Fitbit,
Inc., No. 3:15-CV-02077-JD, 2017 WL 5569827, at *5 (N.D. Cal. Nov. 20, 2017) (“Fitbit
made the same representations about sleep-tracking functionality on every package for
every device at issue, and has not demonstrated a significant exposure gap among
consumers.”).

       Plaintiffs also explain that reliance is only a required element of some, but not all,
of their claims. (Reply, Docket No. 118-1 at 16.) They assert that reliance is not required
for breach of express warranty claims,6 the FDUTPA claim, or UCL claims under the
“unlawful” or “unfair” tests (although it is required for the “fraudulent” UCL test). See
Brickman, 2017 WL 5569827, at *6 (indicating “proof of reliance is unnecessary” for
DUTPA claim) (citing Davis v. Powertel, Inc., 776 So. 2d 971, 974 (Fla. Dist. Ct. App.
2000); Galvan v. KDI Distribution Inc., No. SACV 08-0999-JVS ANX, 2011 WL
5116585, at *9 (C.D. Cal. Oct. 25, 2011) (“A UCL violation that is not based on a ‘fraud
theory involving false advertising and misrepresentations to consumers’ does not require
a showing of reliance or causation.”) (citing Tobacco II, 46 Cal.4th 298, 326 n. 17). As
to the CLRA, “[i]f the trial court finds that material misrepresentations have been made to
the entire class, an inference of reliance arises as to the class.” In re Vioxx Class Cases,
180 Cal. App. 4th at 129.

       Since Plaintiffs have put forth evidence demonstrating that each of the Remaining
Plaintiffs relied on the alleged misrepresentations regarding the natural or green tea
ingredients when purchasing the Lash Enhancer, and that these misrepresentations were
distributed to the entire proposed class through the packaging or through the internet
presentations, the Court finds that this is sufficient to establish a presumption of class-
wide reliance. (Reply, Docket No. 118-1 at 9–11; Docket No. 77-6.) Since Younique
displayed the alleged misrepresentations prominently on the label and in the internet
presentations, this case is not like Mazza, in which “it is likely that many class members


         6
         There is a split of authority as to whether reliance is required for breach of express warranty
claims under California law. Compare In re ConAgra Foods, Inc., 90 F. Supp. 3d 919, 984 & n.198
(C.D. Cal. 2015) (treating reliance as an element of a breach of warranty claim) with In re 5-hour
ENERGY Mktg. & Sales Practices Litig., No. 13-2438 PSG (PLAX), 2017 WL 385042, at *10 (C.D.
Cal. Jan. 24, 2017) (“[R]eliance is not required to state a breach of express warranty claim under
California law.”)
CV-90 (06/04)                             CIVIL MINUTES - GENERAL                                 Page 14 of 18
    Case 8:17-cv-01397-JVS-JDE Document 149 Filed 01/10/19 Page 15 of 18 Page ID
                                     #:5532
                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES - GENERAL
 Case No.       SACV 17-1397 JVS(JDEx)                                    Date    January 10, 2019

 Title          Megan Schmitt v. Younique LLC

were never exposed to the allegedly misleading advertisements” in the context of “very
limited” advertisements. 666 F.3d at 595. (Henry Decl., Docket No. 111-1, Image 6;
Docket No. 77-6.) Thus, these common questions of fact and law predominate.

                 b.    Damages

       In order to satisfy the Rule 23(b)(3) predominance requirement, Comcast also
dictates that Plaintiffs must present a damages model that demonstrates that damages can
be reliably calculated on a class-wide basis. Comcast Corp. v. Behrend, 569 U.S. 27, 35
(2013). Comcast instructs:

                 [A] model purporting to serve as evidence of damages in this class
                 action must measure only those damages attributable to that
                 theory. If the model does not even attempt to do that, it cannot
                 possibly establish that damages are susceptible of measurement
                 across the entire class for purposes of Rule 23(b)(3). Calculations
                 need not be exact, but at the class-certification stage (as at trial),
                 any model supporting a “plaintiff’s damages case must be
                 consistent with its liability case.”

(Id.) (citations omitted). At the class certification stage, “Plaintiffs need only show that
such damages can be determined without excessive difficulty and attributed to their
theory of liability.” Just Film, Inc. v. Buono, 847 F.3d 1108, 1121 (9th Cir. 2017). The
parties dispute whether Plaintiffs’ expert, Dr. May has successfully presented a damages
model that satisfies this predominance requirement.

       Dr. May’s expert report sets forth three possible damages models: the full refund
model, the profit disgorgement model, and the price premium model. Since the properly
calculated restitution damages in false advertising cases is “the difference between what
the plaintiff paid and the value of what the plaintiff received,”the Court examines only
the price premium model.7 In re Vioxx Cass Cases, 180 Cal. App. 4th at 131.


         7
        Plaintiffs have not provided sufficient evidence indicating that the value they received for the
Lash Enhancer was actually $0 such that the full refund model would be applicable. See Brazil v. Dole
Packaged Foods, LLC, 660 Fed. App’x. 531, 534 (9th Cir. 2016) (“[A] plaintiff cannot be awarded a full
refund unless the product she purchased was worthless.”) The profit disgorgement model is also not tied
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                               Page 15 of 18
    Case 8:17-cv-01397-JVS-JDE Document 149 Filed 01/10/19 Page 16 of 18 Page ID
                                     #:5533
                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES - GENERAL
 Case No.       SACV 17-1397 JVS(JDEx)                                   Date    January 10, 2019

 Title          Megan Schmitt v. Younique LLC

       The price premium theory of damages attempts to isolate the value of the particular
attribute that is the subject of the misrepresentation. (May Decl., Docket No. 80-2 ¶ 24.)
In this case, the damages methodology would determine the premium for a product that
includes natural rather than synthetic fibers. (Id. ¶ 20.) Once the price premium is
established, it is then multiplied by the number of units of Lash Enhancer that were sold
in each state during the class period to determine the class damages. Dr. May proposes a
hedonic regression methodology using two different sets of data: (1) prices of the Lash
Enhancer with and without the labeling claim, and (2) prices of comparable products.
(Id. ¶¶ 21-22, 31-32.) Plaintiff argues that Dr. May’s hedonic regression model is
complete and robust, and can reasonably calculate price premium damages with data that
is available from Younique and third parties. (Reply, Docket No. 118-1 at 23.) See Just
Film, 847 F.3d 1121 (“That some individualized calculations may be necessary does not
defeat finding predominance.”).

       Younique’s expert, Dr. Tomlin, takes issue with Dr. May’s proposed damages
models for several reasons. First, Dr. Tomlin indicates that Dr. May “does not identify
the variables he would use in [a hedonic regression] or specify the data he would use for
this regression.” (Tomlin Report, Docket No. 111-3 ¶ 44.) In essence, Dr. Tomlin does
not dispute that a hedonic regression analysis can be applied in certain circumstances, but
states that Dr. May has not established that those circumstances are present in this case.
(Id. ¶¶ 20-22, 44.) Second, Dr. Tomlin points out that “[t]he inputs that Dr. May states he
‘must’ consider in order to apply his proposed hedonic regression to calculate classwide
damages do not exist in this case.” (Id. ¶ 44.) Dr. Tomlin asserts that this data is lacking
because there is no pricing data for the Lash Enhancer without the alleged
misrepresentations since the product was discontinued and it would be difficult to
identify other comparable products because the Lash Enhancer is not like a typical store-
bought mascara. (Id.) Third, Dr. May’s report does not take into account Younique’s
specific marketing approach, which includes rewards, discounts, and commissions for its
customers and presenters, which may offset any potential price premium. (Id.) Dr.
Tomlin suggests that an individualized assessment of damages would be required given
such a marketing framework. (Id.)

          Younique has a multi-level marketing system, commissions, and offers coupons,


to their theory of liability under the CLRA and UCL. In re Tobacco II, 240 Cal. App. 4th 779, 800
(2015).
CV-90 (06/04)                           CIVIL MINUTES - GENERAL                              Page 16 of 18
    Case 8:17-cv-01397-JVS-JDE Document 149 Filed 01/10/19 Page 17 of 18 Page ID
                                     #:5534
                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES - GENERAL
 Case No.       SACV 17-1397 JVS(JDEx)                                     Date    January 10, 2019

 Title          Megan Schmitt v. Younique LLC

but that does not preclude class-action adjudication. In his Supplemental Declaration, Dr.
May asserts that “data on costs of goods per unit (including commissions and rewards)
and other costs associated with unit sales can be obtained from [Younique].” (May
Suppl. Decl., Docket No. 130-1 ¶ 10.)8 Dr. May likewise sets forth the type of data he
would use for the hedonic regression, including the IRI data on comparable products and
the prices and attributes of other similar Younique products, including the Moodstruck
3D Fiber Lashes +. (Id. ¶¶ 12-14.) While mascaras may not be an exact match given the
two-step process for application of the Lash Enhancer, an examination of the “natural”
representations on such products can provide data for a reasonable price premium model.
(Obj., Docket No. 124-1 at 4-5.) And while Younique fears that an examination of
products labeled “natural” would necessarily confuse the Lash Enhancer with an “all
natural” product when it was clear that the transplanting gel was not all natural, Dr.
May’s supplemental report does not indicate that he would only be examining “all
natural” products, but rather products with “natural” on the label. (May Suppl. Report,
Docket No. 130-1 ¶ 18.) Finally, while the new Moodstruck 3d Fiber Lashes + may not
be an exact match for the Lash Enhancer with ingredients, Dr. May explains that its data
can still be useful for isolating the price premium associated with the “natural”
representation on the Lash Enhancer, especially since it involves the same brand. (Id. ¶¶
36-38.) In short, disputed damage methodologies will not preclude certification when
there is a methodologically plausible theory of classwide recovery.

         2.      Superiority

       In addition to predominance, Rule 23(b)(3) also requires courts to consider
whether a class action is a superior method of adjudicating the plaintiff’s claims.
Amchem, 521 U.S. at 615. In effect, the superiority requirement requires courts to
consider whether “classwide litigation of common issues will reduce litigation costs and
promote greater efficiency.” Valentino v. Carter-Wallace, Inc., 97 F.3d 1227, 1234 (9th
Cir. 1996). In determining superiority, courts must consider several factors, including:
(1) the class members’ interest in prosecuting their actions individually; (2) the extent
and nature of pre-existing litigation by class members concerning the controversy; (3) the
desirability of concentrating the litigation in this particular forum; and (4) the difficulties

         8
         Younique objects to the consideration of Dr. May’s supplemental declaration given that it is
untimely. (Obj., Docket No. 124-1 at 1-3.) For purposes of this motion for class certification, the Court
will consider the supplemental declaration, along with Younique’s responses in its objections.
CV-90 (06/04)                            CIVIL MINUTES - GENERAL                                Page 17 of 18
    Case 8:17-cv-01397-JVS-JDE Document 149 Filed 01/10/19 Page 18 of 18 Page ID
                                     #:5535
                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES - GENERAL
 Case No.       SACV 17-1397 JVS(JDEx)                                     Date     January 10, 2019

 Title          Megan Schmitt v. Younique LLC

in managing the class action. Fed. R. Civ. P. 23(b)(3)(A)-(D).

       Although Younique argues that the class definition is complicated because it
includes only those Plaintiffs who have purchased a stand-alone Lash Enhancer (as
opposed to the Lash Enhancer as part of a collection), and several of the Plaintiffs have
receipts that include both their own purchased products along with those of other
customers, the Court does not find that this makes the class unworkable. (Opp’n, Docket
No. 105-1 at 22.) Even if some of the putative class members did have both their own
and other products’ customers in their receipts, they could still recover the amount they
could prove was purchased for personal or family use. (Reply, Docket No. 118-1 at 25.)
In addition, Younique suggests that class resolution is problematic because the putative
class members who were presenters are subject to arbitration clauses with Younique.
(Opp’n, Docket No. 105-1 at 23.) Nonetheless, it is unclear that those arbitration
agreements would even apply in this case, nor whether the “vast majority” of putative
class members would be subject to arbitration and class waiver provisions. (Reply,
Docket No. 118-1 at 27.) Instead, the Court is satisfied that class adjudication is superior
to other methods of resolution because the product costs under $30, making it unlikely
that individuals would themselves be able to recover. See Tait v. BSH Home Appliances
Corp., 289 F.R.D. 466, 486 (C.D. Cal. 2012).

                                    IV. CONCLUSION

      For the foregoing reasons, the Court grants in part Plaintiffs’ motion to certify the
California, Florida and Ohio classes. The Court denies Plaintiff’ motion to certify the
Tennessee class.


                 IT IS SO ORDERED.




                                                                                            :      00

                                                    Initials of Preparer      kjt




CV-90 (06/04)                       CIVIL MINUTES - GENERAL                                     Page 18 of 18
